447 F.2d 1367
    UNITED STATES of America, Plaintiff-Appellee,v.Charles Robert MUNCASTER, Defendant-Appellant.No. 29120 Summary Calendar.**Rule 18, 5th Cir.; See Isbell Enterprises, Inc.v.Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431F.2d 409, Part I.
    United States Court of Appeals, Fifth Circuit.
    Hearing En Banc Denied July 30, 1971, Opinion of Panel Aug.20, 1971,Rehearing Denied Sept. 21, 1971.
    
      Jerome Daly, Savage, Minn., of counsel for defendant-appellant.
      Ira deMent, U.S. Atty., David B. Byrne, Jr., Asst. U.S. Atty., Montgomery, Ala., for plaintiff-appellee.
      Appeal from the United States District Court for the Middle District of Alabama; Frank M. Johnson, Jr., Chief Judge.
      ON SUGGESTION FOR HEARING EN BANC
      Before WISDON,* COLEMAN, and SIMPSON, Circuit Judges.
      No Judge in regular active service on the Court having requested that the Court be polled on hearing en banc, (Rule 35 Federal Rules of Appellate Procedure; Local Fifth Circuit Rule 12) the Petition for Hearing En Banc is denied.
      OPINION OF PANEL
      Before WISDOM,*0 COLEMAN, and SIMPSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Charles Robert Muncaster was convicted (Counts I and II of the indictment, returned September 12, 1969) of failing and neglecting from January 17, 1967 to January 22, 1967, to register under the Military Selective Service Act of 1967, 50 App.U.S.C. 462.
    
    
      2
      This conviction is affirmed.  See Local Rule 21.1
    
    
      3
      Muncaster was likewise convicted (Counts III and IV) of a similar offense between January 17, 1967 and September 12, 1969.  This conviction is reversed, Toussie v. United States, 397 U.S. 112, 90 S.Ct. 858, 25 L.Ed.2d 156 (1970).
    
    
      4
      The indefinite sentence imposed under the Youth Corrections Act, 18 U.S.C., 5010(b) remains undisturbed.
    
    
      
        *
         Judge Wisdom did not participate in the entry of the foregoing order, the same being done by a quorum of the Court, 28 U.S.C., 46(d)
      
      
        **
         Judge Wisdom participated in the decision placing this case on the Summary Calendar and in the disposition as above set forth.  He did not participate in the rendition of this original opinion, see 28 U.S.C., 46(d)
      
      
        1
         See NLRB v. Amalgamated Clothing Workers of America, 5 Cir., 1970, 430 F.2d 966
      
    
    